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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN

ANDREA CONLEY,

       Plaintiff,                                 Case No.: 1:17-cv-01027-JTN-ESC
                                                  Hon. Judge Janet T. Neff
v.                                                Magistrate Judge Ellen S. Carmody

WEBER & OLCESE, P.L.C., a Michigan
Company,

       Defendant.

                     STIPULATION TO DISMISS WITHOUT PREJUDICE

       Plaintiff Andrea Conley and Defendant Weber & Olcese, P.L.C., through their

undersigned attorneys of record, stipulate to the dismissal of this action without prejudice.

       Dated: September 27, 2018


/s/ Gary D. Nitzkin                               /s/ Charity A. Olson
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